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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF KENTUCKY
                            AT BOWLING GREEN

                  CRIMINAL ACTION NO. 1:07CR-00023-TBR-(1)

UNITED STATES OF AMERICA                                                      PLAINTIFF

VS.

WILLIAM ROY HENDRICK                                                        DEFENDANT


                        REPORT AND RECOMMENDATION
                         CONCERNING PLEA OF GUILTY


       The Defendant, by consent, has appeared before me pursuant to Rule 11, Federal

Rules of Criminal Procedure, and has entered a plea of guilty to Counts One, Three and

Four of the Four-Count Indictment. After cautioning and examining the Defendant under

oath concerning each of the subjects mentioned in Rule 11, I determined that the guilty

plea was knowledgeable and voluntary and that the offense charged is supported by an

independent basis in fact containing each of the essential elements of such offense. I,

therefore, recommend that the plea of GUILTY be accepted and that the Defendant be

adjudged GUILTY and have sentence imposed accordingly.

       ENTERED this October 24, 2007
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                                           NOTICE

       Failure to file written objections to this Report and Recommendation within (10)

days from the date of its service shall bar an aggrieved party from attacking such Report

and Recommendation before the assigned United States District Judge.

28 U.S.C. 636(b)(1)(B).

       Date of Service: October 24, 2007




Copies to:    Counsel of Record
              US Marshal
              US Probation
              Ms. Kelly Harris, Case Manager




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